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                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF INDIANA
                                          HAMMOND DIVISION


UNITED STATES OF AMERICA,                    )        CAUSE NO.: 2:05-MJ-189
                                             )
                                             )        Hearing of: 09/14/05
                                             )
vs.                                          )        CHARGE: Interstate Stalking
                                             )                Title 18 U.S.C. 2261A
                                             )
                                             )
RUDOLFO HEREDIA,                             )
     Defendant.                              )


                                            ORDER OF DETENTION

          In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude
that the following facts require the detention of the defendant pending trial in this case.

                                          PART I -- FINDINGS OF FACT
9        (1)      The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been
                  convicted of a      (federal offense)(and)(or)      (state or local offense) that is:
                  9        a crime of violence as defined in 18 U.S.C. 3156(a)(4); -or-
                  9        an offense for which the maximum sentence is life imprisonment or death; -or-
                  9        an offense for which the maximum term of imprisonment of ten (10) years or more is
                            prescribed in

                           9        The Controlled Substances Act (21 U.S.C. § 801 et seq.);
                           9        The Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or
                           9        The Maritime Drug Law Enforcement Act (46 U.S.C. App. § 1901 et seq.).

                                                         -or-

                  9        a felony that was committed after the defendant had been convicted of two or more prior
                           federal offenses described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local
                           offenses.

9        (2)      The offense described in finding (1) was committed while the defendant was on release pending
                  trial for a federal, state or local offense.

9        (3)      A period of not more than five (5) years has elapsed since the        (date of conviction) (or)
                         (release of defendant from imprisonment) for the offense described in finding (1).

9        (4)      Findings (1), (2) and (3) establish a rebuttable presumption that no condition or combination of
                  conditions will reasonably assure the safety of (an)other person(s) and the community. I further
                  find that the defendant has not rebutted this presumption.

                                           ALTERNATE FINDINGS (A)
9        (1)      There is probable cause to believe that the defendant has committed an offense

                  9        for which a maximum term of imprisonment of ten (10) years or more is prescribed in

                           9        The Controlled Substances Act (21 U.S.C. § 801 et seq.);
                           9        The Controlled Substances Import and Expert Act (21 U.S.C. § 951 et seq.);
                           9        The Maritime Drug Law Enforcement Act (46 U.S.C. App. § 1901 et seq.); or


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                        9         An offense under Section 924(c), 956(a) or 2332 (b) of Title 18, United States
                                  Code.
9      (2)     The defendant has not rebutted the presumption established by finding (1) that no condition or
               combination of conditions will reasonably assure the appearance of the defendant as required and
               the safety of the community.

                                         ALTERNATE FINDINGS (B)
:      (1)     There is a serious risk that the defendant will not appear.
:      (2)     There is a serious risk that the defendant will endanger the safety of another person or the
               community.

                 PART II – WRITTEN STATEMENT OF REASONS FOR DETENTION
:      I find that the credible testimony and information submitted at the hearing establishes by a
       preponderance of the evidence that defendant poses a risk of non-appearance because:

               1)       Of the nature and circumstances of the offense charged;
               2)       The weight of the evidence against the Defendant;
               3)       He failed to appear for a court hearing in another case in the past (in 1996);
               4)       He is the prime suspect (and apparently the only suspect) in an uncharged recent
                        case presently being actively investigated by law enforcement agencies involving
                        probable charges, among others, for child molestation, child murder, and
                        mutilation of a corpse which, if charged against him would result in a very
                        substantial sentence to imprisonment if he would be convicted and that
                        prospective sentence would compel him to flee the area and hide from law
                        enforcement officers;
               5)       He has a history of substance abuse.

:      I find that the credible testimony and information submitted at the hearing establishes by clear and
       convincing evidence that the defendant presents a danger to the community in general, and to a
       particular individual, Sandra Anaya, because:

               1)       Of the nature and circumstances of the offense charged;
               2)       The weight of the evidence against the Defendant;
               3)       He has a history of substance abuse;
               4)       In the past he has used two aliases and two social security numbers;
               5)       According to the Pre-Trial Services Report, in three past cases he was convicted
                        of, or at least pled guilty to, one or more criminal offenses including three
                        different Battery incidents (these are distinct from and in addition to the incidents
                        referred to in 6, 7, 8, 10, and 11 below);
               6)       Recently on or about 07/30/05 he stabbed another man while at the same time
                        possessing not only a knife but a handgun shortly after or during drinking
                        alcoholic beverage (and when this serious incident occurred he was out on bond in
                        another criminal case);
               7)       Approximately 3 or 4 years ago in anger while operating a vehicle he intentionally
                        ran over another person (who was not in a vehicle) and then he drove around the
                        block and returned and attempted to run over the same victim a second time;
               8)       Approximately 3 or 4 years ago in anger he struck a man in the head with such
                        force that it caused the man to fall to the ground unconscious and then the
                        Defendant picked up a rather large tree stump and appeared to be proceeding to
                        drop it with force on the unconscious man’s head until a nearby observer talked
                        him out of further injuring or possibly killing the victim;
               9)       According to FBI data base information he is reported to have been a member of
                        the Latin Kings street gang;



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                    10)       The evidence at the hearing indicates that he has sexually abused at least three
                              different minor children, including at least one of them on multiple occasions;
                    11)       The evidence at the hearing indicates that once he raped, or at least attempted to
                              rape, a woman;
                    12)       The evidence at the hearing indicates that in recent weeks and months he made at
                              least 3 or 4 threats to kill Sandra Anaya, an adult female, he followed her to
                              numerous locations on multiple occasions against her will, he appeared at her
                              place of employment and confronted her in anger against her will, he sometimes
                              peered into the windows of her residence against her will, he surreptitiously had
                              her residence key copied and entered her residence against her will when it was
                              unoccupied, when she had the residence’s locks changed he again surreptitiously
                              entered her residence against her will, and he stole finished but unsent or
                              unfinished letters authored by Sandra Anaya from her residence and had them
                              photocopied.

          These reasons are supported by the Pretrial Services Report prepared on this defendant.

9         The defendant stipulated at hearing to the assessment of nonappearance and of danger
          contained in the Pretrial Services Report and agreed to enter federal detention until
          disposition of this case.

         After consideration of the factors under 18 U.S.C. § 3142(g), the Court finds that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and the
safety of any other person and the community.



                                PART III – DIRECTIONS REGARDING DETENTION

          The defendant is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States Marshal
for the purpose of an appearance in connection with a court proceeding.

          Entered this 14th day of September, 2005.


                                              s/ Paul R. Cherry
                                              MAGISTRATE JUDGE PAUL R. CHERRY
                                              UNITED STATES DISTRICT COURT
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